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                                                                                   FILED

                                                                                   June 7, 2023

                                                                              CLERK, U.S. DISTRICT COURT
                                                                              WESTERN DISTRICT OF TEXAS
    SEALED                                                                        By:        NM
                                                                                                   Deputy
\                           J
                                                               Case No:         SA:23-CR-00306-JKP

                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN Antonio
                               San ANTONIO DIVISION


 UNITED STATES OF AMERICA,

         Plaintiff,

                 v.
                                            INDICTMENT
 OSAZUWA EMMANUELWILLIAMS
                                            COUNT 1: 21 U.S.C. §§ 846, 841(a)(1), & (b)(1)(C)
                                            Conspiracy to Possess with Intent to DistributeMethamphetamine
         Defendants.




THE GRAND JURY CHARGES:

                                         COUNT ONE
                           [21 U.S.C. §§ 846, 841(a)(1), & (b)(1)(C)]

                                                                                      Defendant,

                           OSAZUWA EMMANUEL WILLIAMS,

knowingly, intentionally, and unlawfully conspired, combined, confederated, and agreed with

others, to commit the following offense against the United States: possession with intent to

distribute a mixture or substance containing a detectable amount of methamphetamine, a Schedule

II Controlled Substance, in violation of Title 21, United States Code, Sections 846, 841(a)(1), &

(b)(1)(C).

    NOTICE OF UNITED STATES OF AMERICA’S DEMAND FOR FORFEITURE
                        [See Fed. R. Crim. P. 32.2]

                            Drug Violations and Forfeiture Statutes
        [Title 21 U.S.C. § 846, 841(a)(1) and (b)(1)(C), subject to forfeiture pursuant to
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                                Title 21 U.S.C. § 853(a)(1) and (2)]

       As a result of the criminal violations set forth in Count One, the United States gives notice

to the Defendant of its intent to seek the forfeiture of the property described below upon conviction

pursuant to Fed. R. Crim. P. 32.2 and Title 21 U.S.C. § 853(a)(1) and (2), which states:

       Title 21 U.S.C. § 853. Criminal forfeitures
       (a) Property subject to criminal forfeitures.
       Any person convicted of a violation of this subchapter or subchapter II punishable by
       imprisonment for more than one year shall forfeit to the United States, irrespective of any
       provision of State law.--
           (1) any property constituting, or derived from, any proceeds the person
           obtained, directly or indirectly, as the result of such violation;
           (2) any of the person’s property used, or intended to be used, in any manner or
           part, to commit, or to facilitate the commission of, such violation; . . .

This Notice of Demand for Forfeiture includes, but is not limited to, the following:

       •     $6,500.00, more or less, in United States Currency




       JAIME ESPARZA
       UNITED STATES ATTORNEY



BY:    ________________________________
       FOR BRIAN NOWINSKI
       Assistant United States Attorney
